                                                                                      Case 1:21-cv-04360-SDG Document 1 Filed 10/20/21 Page 1 of 5



                                                                               UNITED STATE DISTRICT COURT
                                                                               NORTHERN DISTRICT OF GEORGIA

                                                                               ELIZABETH SWANSON and WALTER
                                                                               SWANSON,

                                                                                                                 Plaintiffs,                COMPLAINT

                                                                                            -against-

                                                                               ASTRAL CARRIER, INC., ASTRAL
                                                                               INDUSTRIES, INC., MICHAEL D. DISHMAN,
BASCH & KEEGAN. LLP, 307 CLINTON AVENUE. P.O. BOX 4235. KINGSTON. N.Y. 12402




                                                                               and VENTURA ELISEO GONZALEZ,

                                                                                                                 Defendants.


                                                                                      The Plaintiffs, ELIZABETH SWANSON and WALTER SWANSON, as and for
                                                                               their Complaint, complaining of the Defendants, ASTRAL CARRIER, INC., ASTRAL
                                                                               INDUSTRIES, INC., MICHAEL D. DISHMAN, and VENTURA ELISEO GONZALEZ,
                                                                               do hereby respectfully allege and show to the Court the following:

                                                                                                                    THE PARTIES

                                                                                 1. At all times hereinafter alleged, the Plaintiff, Elizabeth Swanson, resided in Ulster
                                                                               County, New York.

                                                                                 2. At all times hereinafter alleged, the Plaintiff, Walter Swanson, resided in Ulster
                                                                               County, New York.

                                                                                   3. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Astral Carrier, Inc., was a business corporation duly organized and existing under the
                                                                               laws of Indiana, with its principal place of business located at 7375 South U.S. Highway
                                                                               27, Lynn, Indiana.

                                                                                  4. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Astral Carrier, Inc., conducted business as a full-service transportation carrier with a
                                                                               vehicle fleet for hire.

                                                                                   5. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Astral Industries, Inc., was a business corporation duly organized and existing under the
                                                                               laws of Indiana, with its principal place of business located at 7375 South U.S. Highway
                                                                               27, Lynn, Indiana.
                                                                                      Case 1:21-cv-04360-SDG Document 1 Filed 10/20/21 Page 2 of 5




                                                                                   6. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Astral Industries, Inc., operated as a full-service transportation carrier with a vehicle
                                                                               fleet for hire.

                                                                                  7. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Michael D. Dishman, resided at 1713 Midland Drive, Franklin, Indiana.

                                                                                 8. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Ventura Eliseo Gonzalez, resided at 72 N Beckman Court, Dallas, GA 30132.

                                                                                                            JURISDICTION AND VENUE
BASCH & KEEGAN, LLP. 307 CLINTON AVENUE, P.O. BOX 4235, KINGSTON, N.Y. I2402




                                                                                  9. This court has diversity jurisdiction pursuant to 28 UCS § 1332(a)(1).

                                                                                  10. Venue is proper in this judicial district pursuant to 25 USC § 1391(b)(1).

                                                                                                               SUMMARY OF FACTS

                                                                                   11. At all times hereinafter alleged, the Plaintiff, Walter H. Swanson, was operating a
                                                                               2017 Volkswagen Passat bearing New York State Registration Plate Number HJK3162,
                                                                               for the then current period of registration.

                                                                                  12. At all times hereinafter alleged, the Plaintiff, Elizabeth Swanson, was a belted
                                                                               front-seat passenger in the 2017 Volkswagen that was being operated her husband,
                                                                               Walter H. Swanson.

                                                                                  13. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Astral Carrier, Inc., was the registered owner of a 2016 Kenworth Tractor bearing
                                                                               Indiana Registration Plate Number 2175745, for the then current period of registration.

                                                                                  14. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Astral Carrier, Inc., was the registered owner of a trailer bearing Indiana Plate Number
                                                                               P12600, for the then current period of registration.

                                                                                  15. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Astral Industries, Inc., was the registered owner of a 2016 Kenworth Tractor bearing
                                                                               Indiana Registration Plate Number 2175745, for the then current period of registration.

                                                                                  16. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                               Astral Industries, Inc., was the registered owner of a trailer bearing Indiana Plate
                                                                               Number P12600, for the then current period of registration.
                                                                                       Case 1:21-cv-04360-SDG Document 1 Filed 10/20/21 Page 3 of 5



                                                                                   17. At all times hereinafter alleged, the Defendant, Michael D. Dishman, was
                                                                                operating the 2016 Kenworth Tractor bearing Indiana Registration Plate Number
                                                                                2175745.

                                                                                  18. At all times hereinafter alleged, the trailer bearing Indiana Registration Plate
                                                                                Number P12600 was attached to the Kenworth Tractor that was being operated by the
                                                                                Defendant, Michael D. Dishman.

                                                                                   19. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                                Michael D. Dishman, was operating the 2016 Kenworth Tractor with the permission and
                                                                                consent, whether implied or express, of its registered owner, Astral Carrier, Inc.
BASCH 6, KEEGAN, LLP. 307 CLINTON AVENUE. P.O. BOX 4235. KINGSTON. N.Y. I2402




                                                                                   20. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                                Michael D. Dishman, was operating the 2016 Kenworth Tractor with the permission and
                                                                                consent, whether implied or express, of its registered owner, Astral Industries, Inc.

                                                                                  21. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                                Michael D. Dishman, was an employee of the Defendant, Astral Carrier, Inc.

                                                                                   22. Upon information and belief, at all times hereinafter alleged, the Defendant,
                                                                                Michael D. Dishman, was an employee of the Defendant, Astral Industries, Inc.

                                                                                   23. At all times hereinafter alleged, the Defendant, Michael D. Dishman, was a
                                                                                subcontractor of the Defendant, Astral Carrier, Inc.

                                                                                   24. At all times hereinafter alleged, the Defendant, Michael D. Dishman, was a
                                                                                subcontractor of the Defendant, Astral Industries, Inc.

                                                                                    25. At all times hereinafter alleged, the Defendant, Michael D. Dishman, was an agent
                                                                                of the Defendant, Astral Carrier, Inc.

                                                                                    26. At all times hereinafter alleged, the Defendant, Michael D. Dishman, was an agent
                                                                                of the Defendant, Astral Industries, Inc.

                                                                                  27. At all times hereinafter alleged, the 1-75 Expressway in Cobb County, Georgia,
                                                                                was and still is a public thoroughfare.

                                                                                   28. At all times hereinafter alleged, and specifically on March 4, 2020, the Defendant,
                                                                                Ventura Eliseo Gonzalez, owed the Plaintiff a duty of reasonable care to operate his
                                                                                vehicle in a reasonably safe manner.

                                                                                   29. On March 4, 2020, the Defendant, Ventura Eliseo Gonzalez, breached his duty of
                                                                                reasonable care by failing to operate his vehicle in a reasonably safe manner.
                                                                                       Case 1:21-cv-04360-SDG Document 1 Filed 10/20/21 Page 4 of 5




                                                                                   30. At all times hereinafter alleged, and specifically on March 4, 2020, the Defendant,
                                                                                Michael D. Dishman, owed the Plaintiff a duty of reasonable care to operate his tractor
                                                                                with attached trailer in a reasonably safe manner.

                                                                                   31. On March 4, 2020, the Defendant, Michael D. Dishman, breached his duty of
                                                                                reasonable care by failing to operate his Kenworth Tractor with attached trailer in a
                                                                                reasonably safe manner.

                                                                                    32. At all times hereinafter alleged, and specifically on March 4, 2020, the Defendant,
                                                                                Astral Carrier, Inc., owed the Plaintiff a duty of reasonable care to entrust the Kenworth
                                                                                Tractor with attached trailer to individuals qualified to operate a tractor with attached
BASCH E. KEEGAN. LLP. 307 CLINTON AVENUE, P.O. BOX 4235, KINGSTON, N.Y. I2402




                                                                                trailer.

                                                                                    33. At all times hereinafter alleged, and specifically on March 4, 2020, the Defendant,
                                                                                Astral Industries, Inc., breached its duty of reasonable care by entrusting its tractor with
                                                                                attached trailer to an unqualified driver, namely Michael D. Dishman.

                                                                                    34. At all times hereinafter alleged, and specifically on March 4, 2020, the Defendant,
                                                                                Astral Industries, Inc., owed the Plaintiff a duty of reasonable care to entrust the
                                                                                Kenworth Tractor with attached trailer to individuals qualified to operate a tractor with
                                                                                attached trailer.

                                                                                   35. At all times hereinafter alleged, and specifically on March 4, 2020, the Defendant,
                                                                                Astral Industries, Inc., breached its duty of reasonable care by failing to operate its
                                                                                transportation business in a reasonably safe manner.

                                                                                  36. As a result of the Defendants' negligence, the Plaintiffs, Elizabeth Swanson and
                                                                                Walter Swanson, became involved in a three-vehicle, motor vehicle accident.

                                                                                   37. As a result of the Defendants' negligence, the Plaintiff, Elizabeth Swanson,
                                                                                suffered serious bodily injury, conscious pain and suffering, and medical expenses.

                                                                                   38. As a result of the Defendants' negligence, the Plaintiff, Walter H. Swanson,
                                                                                suffered bodily injury, conscious pain and suffering, and medical expenses.

                                                                                   39. The Defendants, Astral Carrier, Inc., Astral Industries, Inc., Michael D. Dishman,
                                                                                and Ventura Eliseo Conzalez, are jointly and severally liable to the Plaintiffs for their
                                                                                injuries and damages.
                                                                                      Case 1:21-cv-04360-SDG Document 1 Filed 10/20/21 Page 5 of 5



                                                                                                                 DERIVATIVE CLAIM

                                                                                   40. The Plaintiffs repeat, reiterate and reallege each and every allegation in those
                                                                               paragraphs marked and designated "1" through "39", inclusive, with the same force and
                                                                               effect as though fully set forth herein at length.

                                                                                 41. At all times hereinafter alleged, the Plaintiffs, Elizabeth Swanson and Walter
                                                                               Swanson, were lawfully married.

                                                                                 42. At all times hereinafter alleged, the Plaintiffs, Elizabeth Swanson and Walter
                                                                               Swanson, resided together at their marital residence.
BASCH 6 KEEGAN. LLP. 307 CLINTON AVENUE. P.O. BOX 4235. KINGSTON. N.Y. 12402




                                                                                   43. As a result of the Defendants' negligence, the Plaintiff, Walter Swanson, was
                                                                               forced to render extra care, aide, and attention to his wife, Elizabeth Swanson, in an
                                                                               effort to heal and support her during her recovery.

                                                                                   44. As a result of the Defendants' negligence, the Plaintiff, Walter Swanson, sustained
                                                                               a loss of consortium, loss of services, loss of support, and loss of affection of his wife,
                                                                               Elizabeth Swanson.

                                                                                                                    JURY DEMAND

                                                                                  45. The Plaintiffs respectfully request a jury trial.

                                                                                      WHEREFORE, the Plaintiffs, Elizabeth Swanson and Walter Swanson, demand a
                                                                               monetary judgment against the Defendants, jointly and severally, on each cause of
                                                                               action in an amount to be determined at the time of trial the amount of which should not
                                                                               be less than $75,000.00, together with the costs and disbursements of this action,
                                                                               reasonable attorney's fees, and all such other and further relief as this Court deems just
                                                                               and proper.

                                                                               Dated: October 1, 2021
                                                                                      Kingston, New York



                                                                                                                       JOHN A DeGASPERIS, ESQ.
                                                                                                                       BASC & KEEGAN, LLP
                                                                                                                       Attorn • y for Plaintiff
                                                                                                                       307 Clinton Avenue
                                                                                                                       P.O. Box 4235
                                                                                                                       Kingston, New York 12402
                                                                                                                       Tel: (845) 338-8884
